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                                      ATTACHMENT A

       The property to be searched is a Samsung phone with a black case, sealed in a clear plastic

bag labeled Farmington Police Department case # 2022-18239. The Device is currently located in

evidence at the Farmington Police Department at 900 Municipal Drive, Farmington, NM 87401.

       This warrant authorizes the forensic examination of this device for the purpose of

identifying the electronically stored information described in Attachment B.
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                                       ATTACHMENT B


       1.      All records and information on the Device described in Attachment A that relate to

violations of 21 U.S.C. §§ 841 and 846, as well as 18 U.S.C. § 924(c), including:

            a. data and information identifying co-conspirators, customers, and suppliers;

            b. communications between co-conspirators, customers, and suppliers;

            c. data and information regarding the types, amounts, and prices of drugs trafficked

               as well as dates, places, and amounts of specific transactions;

            d. data and information related to sources of drugs (including names, addresses, phone

               numbers, or any other identifying information);

            e. photographs and/or videos;

            f. financial records or other information regarding the expenditure or disposition of

               proceeds from the distribution of controlled substances including all bank records,

               checks, credit card bills, account information, and other financial records; and

            g. records of travel.

       2.      Evidence of user attribution showing who used or owned the device at the time the

things described in this warrant were created, edited, or deleted, such as logs, phonebooks, saved

usernames and passwords, documents, and browsing history.

       As used above, the terms “records” and “information” include all of the foregoing items of

evidence in whatever form and by whatever means they may have been created or stored, including

any form of computer or electronic storage (such as flash memory or other media that can store

data) and any photographic form.
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       This warrant authorizes a review of electronic storage media and electronically stored

information seized or copied pursuant to this warrant in order to locate evidence, fruits, and

instrumentalities described in this warrant. The review of this electronic data may be conducted

by any government personnel assisting in the investigation, who may include, in addition to law

enforcement officers and agents, attorneys for the government, attorney support staff, and technical

experts. Pursuant to this warrant, the DEA may deliver a complete copy of the seized or copied

electronic data to the custody and control of attorneys for the government and their support staff

for their independent review.
